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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

KAREN BRANNAN and                  *                        CASE NO.
MICHAEL BRANNAN                    *
                                   *
versus                             *
                                   *                        JUDGE
TARGET CORPORATION OF MINNESOTA,   *
ANTOINETTE KLIMA and XYZ INSURANCE *
COMPANY                            *                        MAGISTRATE
                                   *
*****************************

                                   NOTICE OF REMOVAL

       NOW INTO COURT, through undersigned counsel comes defendant Target

Corporation, a Minnesota Corporation, qualified to do business in Louisiana as Target

Corporation of Minnesota (hereinafter “Target”), who hereby request this Honorable Court to

remove that certain matter styled “Karen Brannan and Michael Brannan vs. Target Corporation

of Minnesota, Antoinette Klima and XYZ Insurance Company” from the docket of the 19th

Judicial District Court in and for the Parish of East Baton Rouge, State of Louisiana, (hereinafter

sometimes referred to as the “state court proceeding”), to the United States District Court for the

Middle District of Louisiana, on the following grounds, to-wit:

                                                1.

       On or about August 31, 2020 plaintiffs filed a petition for damages against named

defendants Target Corporation and/or Target Corporation of Minnesota, Antoinette Klima, and

XYZ Insurance Company. Plaintiff Karen Brannan alleged that she received personal injuries as

a result of tripping and falling on or about August 31, 2018 at a Target store location in Baton

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Rouge, Louisiana. Plaintiff Michael Brannan alleged he suffered damages for loss of society,

consortium, and support because of the alleged injuries to Karen Brannan.

                                                  2.

       In the petition plaintiffs alleged they are residents of the Parish of Ascension, State of

Louisiana. The discovery responses of plaintiffs provided that they have resided at the same

address in Ascension parish for over ten years and that they maintain Louisiana issued driver’s

licenses. Target is informed and believes that plaintiffs are domiciled in the State of Louisiana.

Therefore, plaintiffs are citizens of the State of Louisiana.

                                                  3.

       Defendant Target Corporation, a Minnesota Corporation, qualified to do business in

Louisiana as Target Corporation of Minnesota, is a corporation organized under the laws of the

State of Minnesota with its principal place of business in Minneapolis, Minnesota. Therefore,

Target is a citizen of the State of Minnesota. This entity was served with the Petition for

Damages through its registered agent for service of process on December 4, 2020.

                                                  4.

       The petition also named as defendant Antoinette Klima in her capacity as a managerial

employee of the Target store were the incident occurred. However, plaintiff has no arguable

claim under Louisiana Law for recovery against this defendant, and has joined her as a defendant

in this matter for the sole reason to defeat diversity jurisdiction and keep this matter in state

court. Defendant Antoinette Klima has not been served as of the date of filing of this removal.



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                                                  5.

       Because plaintiffs have no arguable or reasonable basis on which to state a cause of

action against defendant Antoinette Klima, the joining of this defendant and any alleged lack of

diversity caused by her presence does not bar removal to this court. Moreover, Defendant XYZ

Insurance Company was sued under a fictitious name. Under 28 USC § 1441 (a) the citizenships

of defendants sued under fictitious names are disregarded for removal purposes.

                                                  6.

       Plaintiffs and the only properly joined defendant Target are citizens of different states.

1.     REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
       JURISDICTION PURSUANT TO 28 U.S.C. § 1332.

                                                  7.

       28 U.S.C. § 1332 provides Federal District courts with concurrent original jurisdiction in

cases “where the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between- citizens of different States.”

       A.      THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00.

                                                  8.

       The petition for damages in the state court proceeding did not expressly set out a specific

amount of damages in which Karen Brannan was seeking in the state court proceeding, i.e., the

amount in controversy. The petition only made generic allegations that Karen Brannan’s

damages consisted of past, present and future: physical pain and discomfort; mental pain and

discomfort; mental anguish; functional and anatomical disability; loss of earning and earning


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capacity; loss of enjoyment of life; travel expenses; and an inability to engage in personal, social

and recreational activities.

                                                  9.

       The allegations of the state court petition were not such that it was readily ascertainable

that the action was removable at the time of its filing. Since the filing of the petition for damages,

and within the last 30 days, defendant has received “other paper(s)” which evidence that the

amount which plaintiff will seek in the state court proceeding, i.e., the amount in controversy,

will exceed $75,000.00, exclusive of interest and costs. Defendant is informed and believes that

the amount in controversy for the matter will exceed $75,000 exclusive of interest and costs.

Moreover, the claims of Michael Brannan may be properly removed to the United States District

Court for the Middle District of Louisiana pursuant to this court’s Supplemental Jurisdiction

under 28 U.S.C. §1367.

                                                 10.

       The Fifth Circuit has explained that for purposes of establishing removal jurisdiction, a

defendant may demonstrate that the amount in controversy exceeds $75,000 “in either of two

ways: (1) by demonstrating that it is ‘facially apparent’ from the petition that the claim likely

exceeds $75,000 or (2) ‘by setting forth the facts in controversy-preferably in the removal

petition, but sometimes by affidavit-that supports a finding of the requisite amount.’” Grant v.

Chervon Phillips Chemical Co., 309 F.3d 864, 868 (5th Cir. 2002) (emphasis in original)

(quoting Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995)). Here, it was not

facially apparent from the petition that the claim likely exceeded $75,000. However, since the

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filing of the petition, and within the last 30 days, Target has received medical records pursuant to

Karen Brannan’s medical authorizations which indicate that the amount in controversy will

exceed $75,000. These medical records constitute “other papers” from when it first may be

ascertained that the above captioned matter is removable.

                                                 11.

       The “other papers” received by the defendant Target consisted of medical records

received from two providers, among others, on April 13, 2021 and April 15, 2021. These “other

paper(s)” evidence that the amount Karen Brannan will seek in the state court proceeding will

exceed $75,000, exclusive of interest and costs. More specifically, medical records received

from Baton Rouge Cardiology on April 13, 2021 provided that Karen Brannan, when seen on

August 26, 2020, gave a history of her fall at Target. She reported that as a result of the fall clots

developed from her bruised legs which then caused the need for medical treatment for a

pulmonary embolus. Medical records received from Prairieville Family Hospital on April 15,

2021 provide that plaintiff was diagnosed with a pulmonary embolism and admitted for

treatment of same on November 10, 2019. The itemized charges enclosed with the records for

said treatment was $88,823.00.

                                                 12.

       In addition to the above, Target has received other medical records that indicate the

amount in controversy will exceed $75, 000 exclusive of interest and costs. Plaintiff was seen by

Cypress Pointe Pain Management on October 7, 2019 (Records received by Target on April 19,

2021) reporting a bad fall on August 31, 2019 at Target when she tripped over a clothing rack

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causing right knee pain, extensive bruising, increased neck pain and spasm, and thoracic pain.

Those records also provide that she was diagnosed with DVT in her right leg after her fall, and

that on March 12, 2020 she underwent a cervical spine medial branch block at the C3-4, C4-5,

and C5-6 facet joints. Their note of January 29, 2021 provides that plaintiff saw a Dr. Stanger

who was recommending possible surgery. Plaintiff’s primary physician records from Dr.

Love/Ochsner (Records received by Target on April 27, 2021) reveal plaintiff was seen on

February 12, 2020 reporting her fall at Target and that she developed a pulmonary embolism.

Dr. Love’s records also provide that plaintiff had started treatment with Dr. Kyle Girod at the

Baton Rouge Orthopedic Clinic who had ordered MRIs of her cervical, lumbar and thoracic

spines. They were conducted on August 21, 2020 and showed interval worsening at C6-7 and

interval development of herniations at T8-9 and T11-12 when compared to the pre-incident

studies. Dr. Love’s note of February 26, 2021 reported that plaintiff was seeing a Dr. Flagg for a

surgical consult the following week.

                                                13.

       In addition, the petition fails to provide a general allegation that the claim is less than the

amount necessary to provide for lack of jurisdiction of federal court due to insufficiency of

damages under La. C.C.P. art. 893. The state court petition is subject to amendment upon motion

of plaintiff at any time, including the ability to assert damages greater than $75,000, exclusive of

interest and costs. Target is informed and believes that the amount which Karen Brannan will

seek in the state court proceeding, i.e., the amount in controversy, will exceed $75,000, exclusive

of interest and costs, based on the recently received medical records.

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                                               14.

         While Target admits no liability, nor any element of damages, Target has met its burden

of showing that the amount in controversy for Karen Brannan’s claims are in excess of

SEVENTY-FIVE THOUSAND AND NO/100 ($75,000.00) DOLLARS, exclusive of interest

and costs and may be properly removed to the United States District Court for the Middle

District of Louisiana. The medical records of Karen Brannan clearly establish plaintiff will seek

alleged damages sufficient to compensate her for continuing medical expenses in excess of

$88,000 from one medical entity, not including amounts she will seek for charges from her other

medical providers. In addition plaintiff will seek compensation for her alleged pain and suffering

for a pulmonary embolism, and disc herniations/injuries to her cervical, thoracic, and lumbar

spine for which future treatment, including surgery, are further possibilities. Moreover, the

claims of Michael Brannan may be properly removed to the United States District Court for the

Middle District of Louisiana pursuant to this court’s Supplemental Jurisdiction under 28 U.S.C.

§1367.

B.       COMPLETE DIVERSITY

                                               15.

         Defendant Target is a foreign corporation organized under the laws of the State of

Minnesota, with its principal places of business in Minneapolis, Minnesota. Named defendant

XYZ Insurance Company is a fictitious defendant and therefore any alleged citizenship of same

is disregarded under 28 U.S.C. § 1441.



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                                                16.

       Plaintiffs allege they are residents of the Parish of Ascension, State of Louisiana. Their

discovery responses provide that they have resided at the same address in Ascension parish for

over ten years and that they maintain Louisiana issued driver’s licenses. Target is informed and

believes that plaintiffs are domiciled in the State of Louisiana. Therefore, plaintiffs are citizens

of the State of Louisiana.

                                                17.

       Accordingly, there is complete diversity of citizenship between the plaintiffs and the only

properly joined defendant Target.

                                                18.

       Named defendant Antoinette Klima is alleged to be a resident of the State of Louisiana.

The allegations against this defendant is that she is liable to plaintiff in her position as an

Executive Team Leader of the Target store. The allegations of fault against this defendant arise

from the general administrative responsibilities of her employment.         Under Louisiana law,

“personal liability cannot be imposed on the officer, agent or employee simply because of his

general administrative responsibility for performance of some function of the employment. He

must have a personal duty towards the injured plaintiff, breach of which specifically has caused

the plaintiff's damages.” See, Canter v. Koehring Company, 283 So.2d 716, 721, reh. den.

(La.1973). Therefore, plaintiffs have no arguable claims against this defendant under state law.




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                                               19.

       As plaintiffs have no arguable claim against defendant Antoinette Klima, plaintiffs have

joined her as a defendant in this matter for the sole reason to defeat diversity jurisdiction and

keep this matter in state court. Because plaintiffs have no arguable or reasonable basis on which

to state a cause of action against her, the joining of defendant Antoinette Klima and any alleged

lack of diversity caused by her presence does not bar removal to this court.

                                               20.

       Accordingly, there is complete diversity of citizenship between plaintiffs and the only

properly joined defendant, Target.

                                               21.

       Therefore, this is a civil action over which the United States District Court for the Middle

District of Louisiana has concurrent original jurisdiction under the provisions of 28 U.S.C. §

1332, et seq., as the amount in controversy exceeds SEVENTY-FIVE THOUSAND AND

NO/100 ($75,000.00) DOLLARS, exclusive of interest and costs, and complete diversity exists

between all adverse properly joined parties.

II.    DEFENDANT HAS SATISFIED THE PROCEDURAL REQUIREMENTS FOR
       REMOVAL
                                22.

       Defendant Target Corporation was served with the Petition for Damages through its

registered agent for service of process on December 4, 2020. Defendant Antoinette Klima has

not been served with the Petition for Damages as of the date of filing this Notice of Removal. It

was not readily ascertainable from the petition for damages whether the matter was removable at

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the time of service upon Target. The original petition only made general allegations of damages

without information as to medical expenses, treatment rendered, and/or diagnosed conditions.

Those generic allegations did not allow for removal at the time of service.

                                               23.

       Since the filing of the petition for damages, and within the last 30 days, Target has

received “other paper(s)” which evidence that the amount which plaintiffs will seek in the state

court proceeding, i.e., the amount in controversy, will exceed $75,000.00, exclusive of interest

and costs. The “other papers” received by Target consisted of medical records received on April

13, and April 15, 2021, respectively. Therefore, this Notice of Removal is being filed within

thirty (30) days after first receipt by defendant of a copy of another paper/pleading from which it

may first be ascertained that the case is one which is or has become removable. This notice of

removal is further being filed within one year of commencement of the action. Therefore, this

Notice of Removal is timely under 28 U.S.C. § 1446(b) (3) and 28 U.S.C. § 1446(c).

                                               24.

       Further, consent to removal from the improperly joined defendant Antoinette Klima is

not required. Nonetheless, improperly joined defendant Antoinette Klima has consented to the

removal.

                                               25.

       Jurisdiction is founded in the existence of diversity jurisdiction under 28 U.S.C. § 1332,

which grants federal courts concurrent original jurisdiction over claims where the matter in

controversy exceeds the sum or value of SEVENTY-FIVE THOUSAND AND NO/100

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($75,000.00) DOLLARS, exclusive of interest and costs, and is between citizens of different

states.

                                                  26.

          The 19th Judicial District Court for the Parish of East Baton Rouge, State of Louisiana, is

located within the Middle District of Louisiana pursuant to 28 U.S.C. § 98(a). Therefore, venue

is proper in accordance with 28 U.S.C. § 1441(a).

                                                  27.

          No previous application has been made by any named defendants in this case for the

relief requested herein.

                                                  28.

          Target Corporation, a Minnesota Corporation, qualified to do business in Louisiana as

Target Corporation of Minnesota, wishes to remove the claims which have been asserted by

plaintiffs in the state court proceeding to the United States District Court for the Middle District

of Louisiana. The claims that plaintiff, Karen Brannan, have asserted in the state court

proceeding are claims between citizens of different states involving more than $75,000,

exclusive of interest and costs. The claims which plaintiff, Karen Brannan, have asserted in the

state court proceeding, therefore, fall within the jurisdiction of the United States District Court

and may properly be removed to the United States District Court for the Middle District of

Louisiana. See, 28 U.S.C. § 1332, 28 U.S.C. §§ 1441 & 1446-1451. Moreover, the claims of

Michael Brannan may be properly removed to the United States District Court for the Middle

District of Louisiana pursuant to this court’s Supplemental Jurisdiction under 28 U.S.C. §1367.

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                                                  29.

          Target Corporation respectfully requests that this Notice of Removal be filed into the

record of the United States District Court for the Middle District of Louisiana, effecting a

removal of that certain matter styled, “Karen Brannan and Michael Brannan vs. Target

Corporation of Minnesota, Antoinette Klima and XYZ Insurance Company” from the docket of

the 19th Judicial District Court in and for the Parish of East Baton Rouge, State of Louisiana”.

                                                  30.

          Pursuant to 28 U.S.C. § 1446(a), a copy of the all pleadings filed in the state court

proceeding are attached as exhibits. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of

Removal is being served upon counsel for Karen and Michael Brannan, and a copy is being filed

with the Clerk of Court for the 19th Judicial District Court for the Parish of East Baton Rouge,

State of Louisiana.

                                                  31.

          Defendant Target Corporation is entitled to and hereby requests trial by jury of all issues

herein.

          WHEREFORE, defendant, Target Corporation, a Minnesota Corporation, qualified to do

business in Louisiana as Target Corporation of Minnesota, hereby prays for removal of this

action from the 19th Judicial District Court for the Parish of East Baton Rouge, State of

Louisiana, to the docket of the United States District Court for the Middle District of Louisiana,

and for trial by jury.



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                                                    Respectfully Submitted:

                                                    LAWRENCE, KNIGHT & CURLIN

                                                    By: __/s/David P. Curlin____
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                                                    John@lawrence-knight.com
                                                    Attorneys for Defendants

                                     CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2021, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to the following:

Mitchell Meredith, attorney for plaintiff.

                                             __/s/David P. Curlin____




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